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                       Exhibit 4
                                to
             Memorandum of United States in Opposition
               To Dey Defendants' Motion in Limine
             To Exclude Opinions of Mark Duggan, Ph.D
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                         Exhibit A
             to Declaration of Colleen M. King


                          DMERC A
                     Ipratropium Bromide
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                          DMERC A
                     Ipratropium Bromide

                            1997 Q2
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                          DMERC A
                     Ipratropium Bromide

                        1999 Q3 or Q4
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                          DMERC A
                     Ipratropium Bromide

                            2000 Q1
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                          DMERC A
                     Ipratropium Bromide

                            2000 Q2
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                          DMERC A
                     Ipratropium Bromide

                            2000 Q3
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                   Pages Omitted
